 Case 2:21-cv-04569-JAK-KS
                       Document 58 Filed 11/02/23                                          Page 1 of 3 Page ID
UNITED STATES DfSTRICT COURT #:413
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     Morrpress Trust
   5760 Lindero Canyon Road
   Westlake Village, CA 91362




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 MIME-VersiQn:1.0 From:cacd_ecfmail@cacd.uscourts.gov To:ecfnef@cacd.uscourts.gov
 Message-Id:<36622018@cacd.uscourts.gov>Subject:Activiry in Case 2:21-cv-04569-JAK-KS United
 States of America v. Real Property Located in Malibu, California Text Only Scheduling Notice
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                              UNITED STATES DISTRICT COURT

                            CENTRAL DISTRICT OF CALIFORNIA

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 The following transaction was entered on 9/28/2023 at 1:45 PM PDT and filed on 9/28/2023

  Case Name:              United States of America v. Real Property Located in Malibu, California
  Case Number:            2:21-cv-04569-JAK-KS
  Filer:

  WARNING: CASE CLOSED on 07/13/2023

  Document Number:        40(No document attached)


 Docket Text:
(IN CHAMBERS)ORDER REJECTING LETTERS RECEIVED FROM MORRPRES TRUST
 AND MELVIN LOUIS HUGES[31][38][39]) by Judge John A. Kronstadt: The Court orders
 the rejection of the letters received on behalf of Morrpres Trust and Melvin Louis Huges.Per
 Local Rule 83-2.5, no letters to the Judge and the case closed on July 13,2023. THERE IS NO
PDF DOCUMENT ASSOCIATED WITH THIS ENTRY.(tj) TEXT ONLY ENTRY

2:21-cv-04569-JAK-KS Notice has been electronically mailed to:
Daniel G. Boyle daniel.boyle2@usdoj.gov, caseview.ecf@usdoj.gov, gabriela.arciniega@usdoj.gov,
Jonathan.Wettstein@usdoj.gov, Tarleen.Khauv@usdoj.gov, USACAC.Criminal@usdoj.gov
2:21-cv-04569-JAK-KS Notice has been delivered by First Class U. S. Mail or by other means
BY THE FILER to
Morrpress Trust
5760 Lindero Canyon Road
Westlake Village, CA 91362
